                                               United States Bankruptcy Court
                                               Middle District of Tennessee
In re:                                                                                                     Case No. 19-00594-MFH
CHARLES RAYMOND PEER, III                                                                                  Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0650-3                  User: slw0703                      Page 1 of 1                          Date Rcvd: May 06, 2019
                                      Form ID: 318                       Total Noticed: 7


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 08, 2019.
db             +CHARLES RAYMOND PEER, III,    2846 WINDY WAY,    Thompsons Station, TN 37179-9263
6833472        +DAVIDSON COUNTY GENERAL SESSIONS,    CRIMINAL COURT CLERK,    408 2ND AVENUE NORTH, SUITE 2120,
                 Nashville TN 37201-1201
6833474        +I STORAGE CAMPBELL STATION,    3000 HARRAH DRIVE,    Spring Hill TN 37174-8284
6833475        +NPAS,   PO BOX 99400,    Louisville KY 40269-0400
6833476        +WILLIAMSON COUNTY GENERAL SESSIONS CRIMI,     135 4TH AVENUE SOUTH,   Franklin TN 37064-2500

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
6833471        +EDI: AMEREXPR.COM May 07 2019 05:48:00      Amex,   Correspondence/Bankruptcy,   PO Box 981540,
                 El Paso TX 79998-1540
6833473        +E-mail/Text: bankruptcy@huntington.com May 07 2019 02:13:17      Huntington Natl Bk,
                 Attn: Bankruptcy,   PO Box 340996,    Columbus OH 43234-0996
                                                                                             TOTAL: 2

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 08, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 6, 2019 at the address(es) listed below:
              BRYAN CLARK PENLAND    on behalf of Debtor CHARLES RAYMOND PEER, III
               cm-ecf@jamesflexerconsumerlaw.com, cmecf@ecf.courtdrive.com
              DANIEL CASTAGNA     on behalf of Debtor CHARLES RAYMOND PEER, III
               cm-ecf@jamesflexerconsumerlaw.com, cmecf@ecf.courtdrive.com
              JEANNE ANN BURTON    TN24@ecfcbis.com
              US TRUSTEE   ustpregion08.na.ecf@usdoj.gov
                                                                                            TOTAL: 4




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Information to identify the case:
Debtor 1              CHARLES RAYMOND PEER III                                    Social Security number or ITIN   xxx−xx−0403
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                          Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                  EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court MIDDLE DISTRICT OF TENNESSEE

Case number: 3:19−bk−00594



Order of Discharge                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           CHARLES RAYMOND PEER III

                                                                          By the court: Marian F Harrison
           5/6/19                                                                       United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.

However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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